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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION


EMPLOYERS MUTUAL                       )
CASUALTY COMPANY,                      )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )        CIVIL ACTION FILE NO.
                                       )
TIGER CREEK DEVELOPMENT,               )
INC.; DAVID ERICKSON; AND              )
CHERRY PEASE,                          )
                                       )
      Defendants.                      )
                                       )

             COMPLAINT FOR DECLARATORY JUDGMENT

      COMES NOW, EMPLOYERS MUTUAL CASUALTY COMPANY

(“EMC”), Plaintiff in the above-styled action, and files this Complaint for

Declaratory Judgment, showing this honorable Court as follows:

                         PARTIES AND JURISDICTION

                                           1.

      This is an action for declaratory judgment brought pursuant to Rule 57 of the

Federal Rules of Civil Procedure and 28 U.S.C. § 2201, to declare the rights and

other legal relations surrounding the questions of actual controversy which

presently exist among EMC and Tiger Creek Development, Inc. (“Tiger Creek”);

David Erickson; and Cherry Pease.
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                                           2.

      Upon information and belief, Defendant Tiger Creek is a Georgia

corporation existing under the laws of Georgia, with its principal place of business

in Columbus, Georgia. It can be served through its registered agent, Christopher L.

Meacham, 5704 Veterans Parkway, Columbus, Muscogee County, Georgia 31904.

                                           3.

      Upon information and belief, Defendant David Erickson is an individual and

citizen of Muscogee County, Georgia, who may be personally served at 2301

Airport Thruway, Suite E-6, Columbus, Muscogee County, Georgia 31904.

                                           4.

      Upon information and belief, Defendant Cherry Pease is an individual and

citizen of Muscogee County, Georgia, who may be served at 8401 Blackmon

Road, Columbus, Muscogee County, Georgia 31909.

                                           5.

      Defendant Tiger Creek and Defendant Erickson seek coverage from EMC

under a policy of liability insurance for the allegations made against them in a

lawsuit filed against them by Defendant Pease, which is further detailed below.

                                           6.

      Defendant Pease is the Plaintiff in the underlying lawsuit detailed below

and, therefore, she is a necessary party to this action.



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                                          7.

       EMC is a corporation organized and existing under the laws of the State of

Iowa, and has its principal place of business in Iowa. EMC submits itself to the

jurisdiction and venue of this Court.

                                          8.

       This Court has original jurisdiction over this action under the provisions of

28 U.S.C. § 1332, because it is a civil action in which the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and is among

citizens of different states.

                                          9.

       Venue in this action is proper pursuant to 28 U.S.C. § 1391.

                                FACTUAL BACKGROUND

                                         10.

       Defendant Pease filed the lawsuit captioned Pease v. Tiger Creek

Development, Inc., et al., in the Superior Court of Muscogee County, Georgia,

Civil Action File No. SU-2020-CV-2196 (the “underlying lawsuit”) on November

5, 2020, naming Tiger Creek and Erickson as Defendants.

                                         11.

       A true and correct copy of the underlying lawsuit is attached hereto as

Exhibit 1.



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                                         12.

       Defendant Pease has been included as a named Defendant in this action for

declaratory relief because she has a potential financial interest in the outcome of

this action.

                                         13.

       The underlying Defendants Tiger Creek and Erickson have been served with

the underlying lawsuit and filed their answer to the same.

                                         14.

       The underlying lawsuit seeks damages and injunctive relief for damages

caused by Defendants Tiger Creek’s and Erickson’s alleged negligence, negligence

per se, trespass and nuisance, related to alleged storm water discharges, runoff, and

sedimentation onto Defendant Pease’s property. Exhibit 1, ¶¶ 11-18, 22-23.

                                         15.

       The actions alleged in the underlying lawsuit, which caused the alleged

damages, began by at least January 2019.

                                         16.

       The claims in the underlying lawsuit relate to the alleged discharge of storm

water, as well as excessive storm water flows and sedimentation, from Defendants’

development activities onto Defendant Pease’s property. Exhibit 1, ¶¶ 13-18, 22-

23.



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                                         17.

      On June 16, 2020, before the underlying lawsuit was filed, an attorney for

Defendant Pease sent a letter to Defendant Tiger Creek in care of Defendant

Erickson, which advised that Defendant Tiger Creek’s development activities

caused water runoff and “washed clay sediment and mud” onto Defendant Pease’s

property, which “caused severe staining and damage.” The letter warned that if

immediate action was not taken to resolve the problem, then Defendant Pease

would file suit. See Exhibit 2.

                                         18.

      A true and correct copy of the June 16, 2020 letter is attached hereto as

Exhibit 2.

                                         19.

      Before receiving this letter, Defendants Tiger Creek and/or Erickson had

received multiple complaints about the problems from Defendant Pease.

                                         20.

      The claims against Defendants Tiger Creek and Erickson in the underlying

suit include: negligence, including negligent clearing of trees and vegetation,

which allowed sand and/or topsoil, as well as storm water runoff to wash onto

Defendant Pease’s property; negligence per se in failing to comply with their storm

water management plan, violating the City of Columbus’ Code of Ordinances, and



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violating Georgia’ Erosion and Sedimentation Act; continuing trespass and

nuisance from repeated storm water and surface water discharges onto Defendant

Pease’s property; and punitive damages, special damages, diminution in value

damages, nominal damages, and attorney’s fees and expenses against Defendants

Tiger Creek and Erickson.

                                         21.

      By approximately January 2019, Defendants Tiger Creek and/or Erickson

had received notice of Defendant Pease’s complaints about repeated water

discharges and sedimentation from Defendant Tiger Creek’s property, causing

damages to Defendant Pease’s property.

                                         22.

      On April 30, 2020, Defendant Erickson attended a site inspection of

Defendant Pease’s property, which was also attended by Defendant Pease and her

expert, among others.

                                         23.

      Defendants Tiger Creek and Erickson first notified EMC of the alleged

occurrence and claim against it on June 25, 2020, at least one and a half years after

the alleged damages at issue in the underlying lawsuit began, and approximately

one and a half years after Defendants Tiger Creek and Erickson received notice of

the claim from Defendant Pease.



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                                         24.

      On July 6, 2020, after receiving notice of the claim and suit for the first time

on June 25, 2020, EMC sent a reservation of rights letter to Defendant Tiger Creek.

A true and correct copy of the July 6, 2020 letter is attached as Exhibit 3.

                                         25.

      On February 2, 2021, EMC sent a reservation of rights letter to Defendant

Erickson. A true and correct copy of the February 2, 2021 letter is attached as

Exhibit 4.

                                         26.

      As indicated in its Reservation of Rights letters, EMC is providing

Defendants Tiger Creek and Erickson with a defense to the underlying lawsuit,

subject to a complete reservation of rights.

                                 EMC’S POLICY

                                         27.

      EMC issued Policy number 5D4 23 72-21 to named insured Tiger Creek

Development, Inc., with effective dates from January 18, 2020 through January

18, 2021. A true and correct copy is attached as Exhibit 5. The policy provided

general liability coverage with general aggregate limits of $2 million, and an each

occurrence limit of $1 million. It is also provided personal and advertising injury

coverage with a limit of $1 million.



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                                                               28.

         Under the commercial general liability coverage form, Coverage A

provided as follows:

         COVERAGE A.    BODILY INJURY AND PROPERTY
         DAMAGE LIABILITY

         1.       Insuring Agreement

                  a.       We will pay those sums that the insured becomes
                           legally obligated to pay as damages because of “bodily
                           injury” or “property damage” 1 to which this insurance
                           applies. We will have the right and duty to defend the
                           insured against any “suit” seeking those damages.
                           However, we will have no duty to defend the insured
                           against any “suit” seeking damages for “bodily injury”
                           or “property damage” to which this insurance does not
                           apply. We may, at our discretion, investigate any
                           “occurrence”2 and settle any claim or “suit” that may
                           result. But:

                           (1)       The amount we will pay for damages is limited as
                                     described in Section III-Limits Of Insurance; and

                           (2)       Our right and duty to defend ends when we have
                                     used up the applicable limit of insurance in the
                                     payment of judgments or settlements under
                                     Coverage A or B or medical expenses under
                                     Coverage C.



1
 The policy defined “property damage” as follows:
17. “property damage” means:
         a.       Physical injury to tangible property, including all resulting loss of use of that property. All such
                  loss of use shall be deemed to occur at the time of the physical injury that caused it; or
         b.       Loss of use of tangible property that is not physically injured. All such loss of use shall be
                  deemed to occur at the time of the “occurrence” that caused it.
         For the purposes of this insurance, electronic data is not tangible property.
2
 The policy defined “occurrence” as “an accident, including continuous or repeated exposure to substantially the
same general harmful conditions.”


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                      No other obligation or liability to pay sums or
                      perform acts or services is covered unless
                      explicitly provided for under Supplementary
                      Payments – Coverages A and B.

                                     29.
      In addition, Coverage A contained the following requirements for
coverage:
           b.   This insurance applies to “bodily injury” and “property
                damage” only if:

                (1)    The “bodily injury” or “property damage” is
                       caused by an “occurrence” that takes place in the
                       “coverage territory”;
                (2)    The “bodily injury” or “property damage” occurs
                       during the policy period; and
                (3)    Prior to the policy period, no insured listed under
                       Paragraph 1. of Section II – Who Is An Insured
                       and no “employee” authorized by you to give or
                       receive notice of an “occurrence” or claim, knew
                       that the “bodily injury” or “property damage”
                       had occurred, in whole or in part. If such a listed
                       insured or authorized “employee” knew, prior to
                       the policy period, that the “bodily injury” or
                       “property damage” occurred, then any
                       continuation, change or resumption of such
                       “bodily injury” or “property damage” during or
                       after the policy period will be deemed to have
                       been known prior to the policy period.
                ...

           d.   “Bodily injury” or “property damage” will be deemed to
                have been known to have occurred at the earliest time
                when any insured listed under Paragraph 1. of Section II
                – Who Is An Insured or any “employee” authorized by
                you to give or receive notice of an “occurrence” or
                claim:

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                           (1)       Reports all, or any part, of the “bodily injury” or
                                     “property damage” to us or any other insurer;
                           (2)       Receives a written or verbal demand or claim for
                                     damages because of the “bodily injury” or
                                     “property damage”; or
                           (3)       Becomes aware by any other means that “bodily
                                     injury” or “property damage” has occurred or
                                     has begun to occur.

                                                         30.

         Coverage A also contained the following exclusions:

         This insurance does not apply to:
         a.       Expected Or Intended Injury
                  “Bodily injury” or “property damage” expected or intended
                  from the standpoint of the insured. This exclusion does not
                  apply to “bodily injury” resulting from the use of reasonable
                  force to protect persons or property.

                           ...

         f.       Pollution
                  (1)      “Bodily injury” or “property damage” arising out of the
                           actual, alleged or threatened discharge, dispersal,
                           seepage, migration, release or escape of “pollutants3”;

                           (a)      At or from any premises, site or location which is
                                    or was at any time owned or occupied by, or
                                    rented or loaned to, any insured. . . .

                           ...

                           (d)      At or from any premises, site or location on
                                    which any insured or any contractors or

3
  The policy defined “pollutants” as “any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned, or
reclaimed.”


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                subcontractors working directly or indirectly on
                any insured’s behalf are performing operations if
                the “pollutants” are brought on or to the premises,
                site or location in connection with such
                operations by such insured, contractor or
                subcontractor. . . .

          (e)   At or from any premises, site or location on
                which any insured or any contractors or
                subcontractors working directly or indirectly on
                any insured’s behalf are performing operations if
                the operations are to test for, monitor, clean up,
                remove, contain, treat, detoxify or neutralize, or
                in way respond to, or assess the effects of,
                “pollutants”.
    (2)   Any loss, cost or expense arising out of any:

          (a)   Request, demand, order or statutory or regulatory
                requirement that any insured or others test for,
                monitor, clean up, remove, contain, treat,
                detoxify or neutralize, or in any way respond to,
                or assess the effects of, “pollutants”; or

          (b)   Claim or suit by or on behalf of a governmental
                authority for damages because of testing for,
                monitoring, cleaning up, removing, containing,
                treating, detoxifying or neutralizing, or in any
                way responding to, or assessing the effects of,
                “pollutants”.

          However, this paragraph does not apply to liability for
          damages because of “property damage” that the insured
          would have in the absence of such request, demand,
          order or statutory or regulatory requirement, or such
          claim or “suit” by or on behalf of a governmental
          authority.




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                                           31.

      In addition, the policy provided coverage for personal and advertising injury

liability under Coverage Part B, as follows:


      COVERAGE B – PERSONAL AND ADVERTISING INJURY
      LIABILITY
      1.     Insuring Agreement

             a.    We will pay those sums that the insured becomes legally
                   obligated to pay as damages because of “personal and
                   advertising injury” to which this insurance applies. We
                   will have the right and duty to defend the insured against
                   any “suit” seeking those damages. However, we will
                   have no duty to defend the insured against any “suit”
                   seeking damages for “personal and advertising injury” to
                   which this insurance does not apply. We may, at our
                   discretion, investigate any offense and settle any claim or
                   “suit” that may result. …

             ...

             b.    This insurance applies to “personal and advertising
                   injury” caused by an offense arising out of your business
                   but only if the offense was committed in the “coverage
                   territory” during the policy period.

                                     32.
      Coverage B also contained the following exclusions:

      This insurance does not apply to:

             a.    Knowing Violation Of Rights Of Another
                   “Personal and advertising injury” caused by or at the
                   direction of the insured with the knowledge that the act
                   would violate the rights of another and would inflict
                   “personal and advertising injury”.


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            ...

            m.    Pollution
                  “Personal and advertising injury” arising out of the
                  actual, alleged or threatened discharge, dispersal,
                  seepage, migration, release or escape of “pollutants” at
                  any time.

            n.    Pollution Related
                  Any loss, cost or expense arising out of any:

                  (1)    Request, demand, order or statutory or regulatory
                         requirement that any insured or others test for,
                         monitor, clean-up, remove, contain, treat, detoxify
                         or neutralize, or in any way respond to, or assess
                         the effects of, “pollutants”; or

                  (2)    Claim or suit by or on behalf of a governmental
                         authority for damages because of testing for,
                         monitoring, cleaning up, removing, containing,
                         treating, detoxifying or neutralizing, or in any way
                         responding to, or assessing the effects of,
                         “pollutants”.

                                       33.
      The policy contained preconditions to coverage with which an insured was

required to comply. For example, the policy stated:


      2.    Duties In The Event Of Occurrence, Offense, Claim Or
            Suit

            a.    You must see to it that we are notified as soon as
                  practicable of any “occurrence” or an offense which
                  may result in a claim. To the extent possible, notice
                  should include:
                  (1)    How, when and where the “occurrence” or
                         offense took place;

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                    (2)   The names and addresses of any injured persons
                          and witnesses; and
                    (3)   The nature and location of any injury or damage
                          arising of the “occurrence” or offense.

            b.      If any claim is made or “suit” is brought against any
                    insured, you must:

                    (1)   Immediately record the specifics of any claim or
                          “suit” and the date received; and

                    (2)   Notify us as soon as practicable.

                    You must see to it that we receive written notice of any
                    claim or “suit” as soon as practicable.
            c.      You and any other involved insured must:
                    (1)   Immediately send us copies of any
                          correspondence, demands, notices, summonses,
                          or papers in connection with any claim or “suit”;
                          ...

            d.      No insured will, except at that insured’s own cost,
                    voluntarily make a payment, assume any obligation, or
                    incur any expense, other than for first aid, without our
                    consent.
                                         34.

      In addition, the policy contained the following endorsement, which applied

to Coverage A and provided as follows:


            Exclusion l. of Section I – Coverage A – Bodily Injury
            and Property Damage Liability is replaced by the
            following:

            2. Exclusions

                 This insurance does not apply to:


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               l. Damage To Your Work

                  “Property damage” to “your work” arising out of it or
                  any part of it and included in the “products–completed
                  operations hazard”.

                                       35.

      The policy also contained a Continuous Or Progressive Injury Or Damage

Exclusion endorsement, which stated:

      A.    Section I – Coverages, Subparagraph 2. Exclusions, of
            Coverage A – Bodily Injury and Property Damage Liability
            is amended to add the following:

            Exclusion for “Bodily Injury” or “Property Damage”
            Which Commences Prior to Inception of Policy

            This insurance does not apply to any “bodily injury” or
            “property damage” which was in progress as of the inception
            date of this policy or which commenced, or which is alleged to
            have occurred, prior to the inception or effective date of this
            policy, whether such “bodily injury” or “property damage” is
            known, unknown or should have been known by any “insured.”
            We have no duty to defend any “suit” or claim alleging such
            “bodily injury” or “property damage.”

            This exclusion applies regardless of whether any “bodily
            injury” or “property damage” which commenced prior to the
            inception or effective date of this policy or which is, or is
            alleged to be occurring as of the inception of this policy,
            continues or progressively deteriorates during or after this
            policy.

      B.    For the purposes of this endorsement only, the following
            Definitions have been added or modified as indicated below:
            ...




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             2. Section V – Definitions, Subparagraph 13. is deleted and
             replaced by the following:
             13. “Occurrence” means an accident, including continuous or
                   repeated exposure to substantially the same general
                   harmful conditions. However, this definition does not
                   include any occurrence which commenced prior to the
                   effective date of this policy.

             3. Section V – Definitions, is amended by adding the
             following:

             “Insured” means any person or organization qualifying as an
             insured under Section II – Who Is An Insured in the Coverage
             Form along with any additional named insureds, indemnitees
             and/or additional insureds whether by endorsement, under an
             “insured contract” or otherwise and all other parties seeking
             insured status.


                          FIRST CLAIM FOR RELIEF

                                        36.

      EMC reiterates paragraphs 1 through 35 as if fully set forth herein.

                                        37.

      To the extent that the insurance contract issued by EMC does not provide

coverage for the underlying lawsuit against Defendants Tiger Creek and Erickson,

EMC has no duty to defend or indemnify said Defendants for the claims asserted

against them in that lawsuit.

                                        38.

      Specifically, policy number 5D4 23 72-21, under Coverages A and B,

contains exclusions of coverage for “‘property damage’ arising out of the actual,

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alleged or threatened discharge, dispersal, seepage, migration, release or escape of

‘pollutants’.” See ¶ ¶ 30, 32 above.

                                         39.

      To the extent the damages at issue in the underlying lawsuit arise out of

pollution or pollutants, the exclusions referenced in paragraphs 30 and 32 of this

Complaint apply.

                                         40.

      No coverage is owed for any liability against Defendants Tiger Creek and

Erickson that comes within the pollution exclusions contained in the policy,

including, but not limited to, any punitive damages that may be sought against said

Defendants, which, if awarded, would necessarily be based on conduct that falls

within this exclusion.

                                         41.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by this Court, in order that EMC may have its rights

and duties under the applicable contract of insurance determined and avoid the

possible accrual of damages.

                                         42.

      Accordingly, EMC seeks a declaration that no indemnification or duty to

defend is owed by EMC to Defendants Tiger Creek and Erickson for any liability



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that may come within the pollution exclusions recited in paragraphs 29 and 31 of

this Complaint, including, but not limited to, any punitive damages that may be

sought against said Defendants in the underlying lawsuit.

                        SECOND CLAIM FOR RELIEF

                                          43.

      EMC reiterates paragraphs 1 through 42 as fully set forth herein.

                                          44.

      To the extent that the contract of insurance issued by EMC does not provide

coverage for the underlying lawsuit against Defendants Tiger Creek and Erickson,

EMC has no duty to defend or indemnify Defendants Tiger Creek and Erickson for

the claims asserted against them in that lawsuit.

                                          45.

      Specifically, the policy at issue contains exclusion from coverage for

liability for property damage expected or intended by the insured. See ¶ 30.

                                          46.

      To the extent the damages at issue in the underlying lawsuit arise out of

property damage expected or intended by the insured, the exclusion referenced in

paragraph 30 of this Complaint applies.

                                          47.

      No coverage is owed for any liability against Defendants Tiger Creek and



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Erickson that comes within the expected or intended exclusion set forth in

paragraph 30, including, but not limited to, any punitive damages that may be

sought against them, which, if awarded, would necessarily be based on conduct

that falls within this exclusion.

                                        48.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by this Court, in order that EMC may have its rights

and duties under the applicable contract of insurance determined and avoid the

possible accrual of damages.

                                        49.

      Accordingly, EMC seeks a declaration that no indemnification or duty to

defend is owed by EMC to Defendants Tiger Creek and Erickson for any liability

that may come within the expected or intended exclusion recited in paragraph 30 of

this Complaint, including, but not limited to, any punitive damages that may be

sought against said Defendants in the underlying lawsuit.

                          THIRD CLAIM FOR RELIEF

                                        50.

      EMC reiterates paragraphs 1 through 49 as if fully set forth herein.

                                        51.

      The policy at issue required an insured to give timely notice of a claim.



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                               52.

Policy number 5D4 23 72-21provided as follows:

SECTION IV - COMMERCIAL GENERAL LIABILITY
CONDITIONS
1.   Duties In The Event Of Occurrence, Offense, Claim Or Suit
     a.    You must see to it that we are notified as soon as
           practicable of an “occurrence” or an offense which may
           result in a claim. To the extent possible, notice should
           include:
           (1) How, when and where the “occurrence” or offense
                  took place;

           (2)   The names and addresses of any injured persons
                 and witnesses; and

           (3)   The nature and location of any injury or damage
                 arising out of the “occurrence” or offense.

     b.    If any claim is made or “suit” is brought against any
           insured, you must:

           (1)   Immediately record the specifics of any claim or
                 “suit” and the date received; and

           (2)   Notify us as soon as practicable.
           You must see to it that we receive written notice of any
           claim or “suit” as soon as practicable.
     c.    You and any other involved insured must:

           (1)   Immediately     send     us    copies    of    any
                 correspondence, demands, notices, summonses or
                 papers in connection with any claim or “suit”;
           (2)   Authorize us to obtain records and other
                 information;
           (3)   Cooperate with us in the investigation or


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                         settlement of any claim or defense of any “suit”;
                         and
                  (4)    Assist us, upon our request in the enforcement of
                         any right against any person or organization which
                         may be liable to the insured because of injury or
                         damage to which this insurance may also apply.
            d.    No insured will, except at that insured’s own cost,
                  voluntarily make a payment, assume any obligation, or
                  incur any expense, other than for first aid, without our
                  consent.

                                       53.

      The actions and violations alleged in the underlying lawsuit, which caused

the alleged damages, began by at least January 2019, when Defendant Pease and/or

her representatives first noticed the alleged damages and complained to Defendant

Erickson and/or Defendant Tiger Creek about them.

                                       54.

      On April 30, 2020, Defendant Erickson attended a site inspection of

Defendant Pease’s property, which was also attended by Defendant Pease and her

expert, among others.

                                       55.

      On June 16, 2020, before the underlying lawsuit was filed, an attorney for

Defendant Pease sent a letter to Defendant Tiger Creek in care of Defendant

Erickson, which advised that Defendant Tiger Creek’s development activities

caused water runoff, and “washed clay sediment and mud” onto Defendant Pease’s



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property, which “caused severe staining and damage.” The letter warned that if

immediate action was not taken to resolve the problem, then Defendant Pease

would file suit. See Exhibit 2.

                                        56.

      Defendants Tiger Creek and Erickson first notified EMC of the alleged

occurrence and claim against them on June 25, 2020, at least one and a half years

after the alleged damages at issue in the underlying lawsuit began, and at least one

and a half years after said Defendants Tiger Creek and Erickson were put on notice

of Defendant Pease’s claims.

                                        57.

      To the extent that Defendants Tiger Creek and Erickson failed to provide

timely notice of the claim pursuant to the terms and conditions of the applicable

policy, no coverage is afforded under the policy for liability or damages that may

be sought against said Defendants in the underlying lawsuit.

                                        58.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by the Court, so that EMC may have its rights and

duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.




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                                        59.

      Accordingly, EMC seeks a declaration from this Court that no

indemnification or duty to defend is owed to Defendants Tiger Creek and Erickson

for any liability or damages that may be incurred by said Defendants in the

underlying lawsuit because they did not provide timely notice under the terms and

conditions of the applicable policy of insurance.

                        FOURTH CLAIM FOR RELIEF

                                        60.

      EMC reiterates paragraphs 1 through 59 as if fully set forth herein.

                                        61.

      The policy defined “occurrence” to mean “an accident, including continuous

or repeated exposure to substantially the same general harmful conditions.”

                                        62.

      Therefore, to the extent that the alleged damages were not caused by an

“occurrence” under the policy, no coverage is afforded under said policy for

liability or damages that may be sought against Defendants Tiger Creek and

Erickson in the underlying lawsuit.

                                        63.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by the Court, so that EMC may have its rights and



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duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.

                                        64.

      Accordingly, EMC seeks a declaration from this Court that no

indemnification or duty to defend is owed to Defendants Tiger Creek and Erickson

for any liability or damages that may be incurred by said Defendants in the

underlying lawsuit to the extent they were not caused by an “occurrence” under the

policy in question.

                          FIFTH CLAIM FOR RELIEF

                                        65.

      EMC reiterates paragraphs 1 through 64 as if fully set forth herein.

                                        66.

      To the extent that the contract of insurance issued by EMC does not provide

coverage for the underlying lawsuit against Defendants Tiger Creek and Erickson,

EMC has no duty to defend or indemnify said Defendants for the claims asserted

against them in that lawsuit.

                                          67.

      The policy also contained a Continuous Or Progressive Injury Or Damage

Exclusion endorsement, which stated:




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A.   Section I – Coverages, Subparagraph 2. Exclusions, of
     Coverage A – Bodily Injury and Property Damage Liability
     is amended to add the following:

     Exclusion for “Bodily Injury” or “Property Damage”
     Which Commences Prior to Inception of Policy

     This insurance does not apply to any “bodily injury” or
     “property damage” which was in progress as of the inception
     date of this policy or which commenced, or which is alleged to
     have occurred, prior to the inception or effective date of this
     policy, whether such “bodily injury” or “property damage” is
     known, unknown or should have been known by any “insured.”
     We have no duty to defend any “suit” or claim alleging such
     “bodily injury” or “property damage.”

     This exclusion applies regardless of whether any “bodily
     injury” or “property damage” which commenced prior to the
     inception or effective date of this policy or which is, or is
     alleged to be occurring as of the inception of this policy,
     continues or progressively deteriorates during or after this
     policy.

B.   For the purposes of this endorsement only, the following
     Definitions have been added or modified as indicated below:

     ...

     2. Section V – Definitions, Subparagraph 13. is deleted and
     replaced by the following:
     13. “Occurrence” means an accident, including continuous or
           repeated exposure to substantially the same general
           harmful conditions. However, this definition does not
           include any occurrence which commenced prior to the
           effective date of this policy.

     3. Section V – Definitions, is amended by adding the
     following:




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             “Insured” means any person or organization qualifying as an
             insured under Section II – Who Is An Insured in the Coverage
             Form along with any additional named insureds, indemnitees
             and/or additional insureds whether by endorsement, under an
             “insured contract” or otherwise and all other parties seeking
             insured status.
                                        68.

      By January 2019, Defendants Tiger Creek and/or Erickson had received

notice of Defendant Pease’s complaints about repeated water discharges and

sedimentation from Defendant Tiger Creek’s property, causing damages to

Defendant Pease’s property.

                                        69.

      Policy number 5D4 23 72-21, issued to Defendant Tiger Creek as named

insured, had effective dates of January 18, 2020 through January 18, 2021.

                                        70.

      To the extent that the alleged “property damage” was in progress,

commenced, or is alleged to have occurred, prior to the policy’s initial inception

date, coverage may be excluded under the policy, including, but not limited to,

coverage for any punitive damages that may be sought against Defendants.

                                        71.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by this Court, in order that EMC may have its rights




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and duties under the applicable contract of insurance determined and avoid the

possible accrual of damages.

                                          72.

        Accordingly, EMC seeks a declaration that no indemnification or duty to

defend is owed by EMC to Defendants Tiger Creek and Erickson for any liability

to the extent that the alleged “property damage” commenced, was in progress, or is

alleged to have occurred prior to the policy’s inception date.

                           SIXTH CLAIM FOR RELIEF

                                          73.

        EMC reiterates paragraphs 1 through 72 as if fully set forth herein.

                                          74.

        The policy defines “personal and advertising injury” under Coverage B to
mean:

        … injury, including consequential “bodily injury”, arising out of one
        or more of the following offenses:

        a.    False arrest, detention or imprisonment;
        b.    Malicious prosecution;
        c.    The wrongful eviction from, wrongful entry into, or invasion of
              the right of private occupancy of a room, dwelling, or premises
              that a person occupies, committed by or on behalf of its owner,
              landlord, or lessor;
        d.    Oral or written publication, in any manner, of material that
              slanders or libels a person or organization or disparages a
              person’s or organization’s goods, products, or services;
        e.    Oral or written publication, in any manner, of material that
              violates a person’s right to privacy;
        f.    The use of another’s advertising idea in your advertisement; or,

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      g.     Infringing upon another copyright, trade dress, or slogan in
             your “advertisement”.

                                         75.

      No coverage is owed to Defendants Tiger Creek and Erickson under the

policy at issue for the damages asserted in the underlying lawsuit to the extent that

the damages at issue do not qualify as “personal and advertising injury’” as defined

under the policy.

                                         76.

      Therefore, to the extent that the alleged damages do not qualify as “personal

and advertising injury” under the policy, no coverage is afforded under said policy

for liability or damages that may be sought against Defendants Tiger Creek and

Erickson in the underlying lawsuit.

                                         77.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by the Court, so that EMC may have its rights and

duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.

                                         78.

      Accordingly, EMC seeks a declaration from this Court that no

indemnification or duty to defend is owed to Defendants Tiger Creek and Erickson

for any liability or damages that may be incurred by said Defendants in the

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underlying lawsuit to the extent they were not caused by “personal and advertising

injury” under the policy in question.

                       SEVENTH CLAIM FOR RELIEF

                                         79.

      EMC reiterates paragraphs 1 through 78 as if fully set forth herein.

                                         80.

             The policy defined “property damage” to mean:

      a.     Physical injury to tangible property, including all resulting loss of use
             of that property. All such loss of use shall be deemed to occur at the
             time of the physical injury that caused it; or
      b.     Loss of use of tangible property that is not physically injured. All
             such loss of use shall be deemed to occur at the time of the
             “occurrence” that cause it.

                                         81.

      Therefore, to the extent that the alleged damages do not qualify as “property

damage” under the policy, including but not limited to claims for injunctive relief,

no coverage is afforded under said policy for liability or damages that may be

sought against Defendants Tiger Creek and Erickson in the underlying lawsuit.

                                         82.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by the Court, so that EMC may have its rights and

duties under the applicable contract of insurance determined and avoid the possible

accrual of damages.

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                                          83.

      Accordingly, EMC seeks a declaration from this Court that no

indemnification or duty to defend is owed to Defendants Tiger Creek and Erickson

for any liability or damages that may be incurred by said Defendants in the

underlying lawsuit to the extent they do not qualify as “property damage” under

the policy in question.

                          EIGHTH CLAIM FOR RELIEF

                                          84.

      EMC reiterates paragraphs 1 through 83 as fully set forth herein.

                                          85.

      To the extent that the contract of insurance issued by EMC does not provide

coverage for the underlying lawsuit against Defendants Tiger Creek and Erickson,

EMC has no duty to defend or indemnify Defendants Tiger Creek and Erickson for

the claims asserted against them in that lawsuit.

                                          86.

      Specifically, the policy at issue contains an exclusion from coverage for

liability for “ ‘personal and advertising injury’ caused by or at the direction of the

insured with knowledge that the act would violate the rights of another …”. See ¶

32.




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                                         87.

      To the extent that there was “‘personal and advertising injury’ caused by or

at the direction of the insured with knowledge that the act would violate the rights

of another…”, the exclusion referenced in paragraph 32 of this Complaint applies.

                                         88.

      No coverage is owed for any liability against Defendants Tiger Creek and

Erickson that comes within the knowing violation exclusion set forth in paragraph

32, including, but not limited to, any punitive damages that may be sought against

them, which, if awarded, would necessarily be based on conduct that falls within

this exclusion.

                                         89.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by this Court, in order that EMC may have its rights

and duties under the applicable contract of insurance determined and avoid the

possible accrual of damages.

                                         90.

      Accordingly, EMC seeks a declaration that no indemnification or duty to

defend is owed by EMC to Defendants Tiger Creek and Erickson for any liability

that may come within the knowing violation exclusion recited in paragraph 32 of

this Complaint, including, but not limited to, any punitive damages that may be



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sought against said Defendants in the underlying lawsuit.

                          NINTH CLAIM FOR RELIEF

                                         91.

      EMC reiterates paragraphs 1 through 90 as fully set forth herein.

                                         92.

      To the extent that the contract of insurance issued by EMC does not provide

coverage for the underlying lawsuit against Defendants Tiger Creek and Erickson,

EMC has no duty to defend or indemnify Defendants Tiger Creek and Erickson for

the claims asserted against them in that lawsuit.

                                         93.

      Specifically, the policy at issue contains exclusion from coverage for

liability for “‘property damage’ to ‘your work’”. See ¶ 34.

                                         94.

      To the extent the damages at issue in the underlying lawsuit arise out of

“‘property damage’ to ‘your work’”, the exclusion referenced in paragraph 34 of

this Complaint applies.

                                         95.

      No coverage is owed for any liability against Defendants Tiger Creek and

Erickson that comes within the damage to your work exclusion set forth in

paragraph 34, including, but not limited to, any punitive damages that may be



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sought against them, which, if awarded, would necessarily be based on conduct

that falls within this exclusion.

                                        96.

      A controversy of a justiciable nature presently exists among the parties,

which demands a declaration by this Court, in order that EMC may have its rights

and duties under the applicable contract of insurance determined and avoid the

possible accrual of damages.

                                        97.

      Accordingly, EMC seeks a declaration that no indemnification or duty to

defend is owed by EMC to Defendants Tiger Creek and Erickson for any liability

that may come within the damage to your work exclusion recited in paragraph 34

of this Complaint, including, but not limited to, any punitive damages that may be

sought against said Defendants in the underlying lawsuit.

                                        98.

       WHEREFORE, EMC prays:

      a.     That this Court enter a Declaratory Judgment declaring that EMC has

             no duty to defend or indemnify Defendants under the aforementioned

             contract of insurance for any claims made against them in the

             underlying lawsuit;

      b.     That EMC be awarded its costs in this action;



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         c.       That this Court award such other and further relief as this honorable

                  Court may deem proper under the circumstances; and

         d.       That process and summons be issued to all Defendants herein and that

                  service on the Defendants be had as required by law.

         Respectfully submitted this 27th day of April, 2021.

                                           Respectfully submitted,

                                           SWIFT, CURRIE, McGHEE & HIERS

                                           /s/ Michael H. Schroder
                                           Michael H. Schroder
                                           Georgia Bar No. 630075

                                           /s/ Melissa K. Kahren
                                           Melissa K. Kahren
                                           Georgia Bar No. 527406
                                           Attorneys for Plaintiff
                                           1355 Peachtree Street, N.E.; suite 300
                                           Atlanta, Georgia 30309
                                           (404) 874-8800
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